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Device

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true-personal identity verification),
methods and systems for secured global
applications in personal/business e-
banking, e-commerce, e-medical/health
insurance checker, e-
education/research/invention, e
-disaster advisor, e-immigration, e-
airport/aircraft security, e-military/e-law
enforcement, with or without nfc
component and system, with
cellular/satellite phone/internet/multi-
media functions

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IDENTIFY MORBID ANIMALS

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Object Location and Tracking

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Customer-controlled instant-response
anti-fraud/anti-identity theft devices (with
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method and systems for secured global
applications in personal/business e-
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ACCESSIBILITY APPARATUS AND
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TRACK AND ANTICIPATE THE
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JURY
U.S. District Court
Eastern District of Virginia - (Newport News)
CIVIL DOCKET FOR CASE #: 4:23-cv-00095-AWA-RJK
Smith v. Atlas North America, LLC et al Date Filed: 07/14/2023
Assigned to: District Judge Arenda L. Wright Allen Jury Demand: Plaintiff
Referred to: Magistrate Judge Robert J. Krask Nature of Suit: 880 Defend Trade Secrets Act (of 2016)
Cause: 18:1836(b) - Civil Action to Protect Trade Secrets Jurisdiction: Federal Question
Plaintiff
Melinda Smith represented by Duncan Glover Byers
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Fax: 757-213-3797

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ATTORNEY TO BE NOTICED

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ATTORNEY TO BE NOTICED

David Matthew Trinnes

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Email: dtrinnes@dbllawyers.com
ATTORNEY TO BE NOTICED

Defendant

ThyssenKrupp Materials North America, LLC represented by David Ludwig
(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

David Matthew Trinnes

(See above for address)
ATTORNEY TO BE NOTICED

Date Filed # | Docket Text

07/14/2023 1 ® | Complaint ( Filing fee $ 402, receipt number AVAEDC-9026839.), filed by Melinda Smith. (Attachments: # 1
Exhibit, # 2 Exhibit, # 3 @B Exhibit, # 4 BB Exhibit, # 5 BB Exhibit, # 6 Exhibit, # 7 WB Exhibit, # 8 WB Exhibit,
#9 (B Exhibit, # 10 Exhibit, # 11 BB Exhibit)(Byers, Duncan) (Entered: 07/14/2023)

07/14/2023 Civil Cover Sheet re 1 { Complaint, by Melinda Smith. (Byers, Duncan) (Entered: 07/14/2023)
07/14/2023 3 | Proposed Summons re | {& Complaint, by Melinda Smith. (Byers, Duncan) (Entered: 07/14/2023)

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Proposed Summons re | {& Complaint, by Melinda Smith. (Byers, Duncan) (Entered: 07/14/2023)

07/14/2023

Initial Case Assignment to District Judge Arenda L. Wright Allen and Magistrate Judge Robert J. Krask. (epri, )
(Entered: 07/14/2023)

07/14/2023

Jn

Two (2) Summonses Issued as to Atlas North America, LLC, ThyssenKrupp Materials North America, LLC,
NOTICE TO ATTORNEY: Please remove the headers and print two duplexed copies of the electronically issued
summons for each Defendant. Please serve one copy of the summons and a copy of the Complaint upon each
Defendant. Please ensure that your process server returns the service copy (executed or unexecuted) to your attention
and electronically file it using the filing events, Summons Returned Executed or Summons Returned Unexecuted.
(Attachments: # | Civil Motions Procedures)(epri, ) (Entered: 07/14/2023)

08/10/2023

In

AFFIDAVIT of Service for Summons and Complaint served on Atlas North America, LLC on 7/26/2023, filed by
Melinda Smith. (Byers, Duncan) (Entered: 08/10/2023)

08/10/2023

IW

AFFIDAVIT of Service for Summons and Complaint served on ThyssenKrupp Materials North America, LLC on
7/27/2023, filed by Melinda Smith. (Byers, Duncan) (Entered: 08/10/2023)

08/16/2023

Joo

Consent MOTION for Extension of Time to File Answer by Atlas North America, LLC, ThyssenKrupp Materials
North America, LLC. (Attachments: # | Proposed Order)(Ludwig, David) (Entered: 08/16/2023)

08/17/2023

MOTIONS REFERRED to Magistrate Judge: Krask. 8 Consent MOTION for Extension of Time to File Answer
(afar) (Entered: 08/17/2023)

08/17/2023

lo

ORDER: The Court hereby GRANTS Plaintiff's and Defendants' Motion and extends the deadline for Defendants to
respond to the complaint to and including August 30, 2023. Signed by Magistrate Judge Robert J. Krask and filed on
8/17/23. (epri, ) (Entered: 08/17/2023)

08/30/2023

MOTION to Dismiss for Failure to State a Claim by Atlas North America, LLC. (Attachments: # 1 Proposed Order)
(Trinnes, David) (Entered: 08/30/2023)

08/30/2023

Memorandum in Support re 10 MOTION to Dismiss for Failure to State a Claim filed by Atlas North America, LLC.
(Trinnes, David) (Entered: 08/30/2023)

08/30/2023

MOTION to Withdraw as Attorney by ThyssenKrupp Materials North America, LLC. (Attachments: # | Exhibit A, #
2 Exhibit B, # 3 Proposed Order)(Trinnes, David) (Entered: 08/30/2023)

09/13/2023

Opposition to 10 MOTION to Dismiss for Failure to State a Claim , 11 Memorandum in Support filed by Melinda
Smith. (Byers, Duncan) (Entered: 09/13/2023)

PACER Service Center

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PACER db350717 Client Code: = |Smith, Melinda.L.1
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